        Case 2:21-cv-00013-SWS Document 116 Filed 09/02/22 Page 1 of 2


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                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF WYOMING                   'i;?^

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WESTERN ENERGY ALLIANCE and
PETROLEUM ASSOCIATION OF WYOMING,

              Petitioners,

                                                                     No. 21-CV-13-SWS
                                                                        (Lead Case)
JOSEPH R. BIDEN, JR., in his official capacity as President of the
United States; DEB HAALAND, in her official capacity as
Secretary of the Interior; and THE UNITED STATES BUREAU
OF LAND MANAGEMENT,

              Respondents, and

CENTER FOR BIOLOGICAL DIVERSITY, et al ("Conservation
Groups"), and ALTERRA MOUNTAIN COMPANY, et al
("Business Coalition"),

              Intervenor-Respondents.


STATE O^ WYOMING,

              Petitioner,

                                                                     No.21-CV-56-SWS
                                                                        (Joined Case)
THE UNITED STATES DEPARTMENT OF INTERIOR;
DEBRA ANNE HAALAND, in her official capacity as
Secretary of the Interior; THE BUREAU OF LAND
MANAGEMENT; NADA CULVER, in her official capacity
as Acting Director of the Bureau of Land Management; and
KIM LIEBHAUSER, in her official capacity as the Acting
Directorof the Wyoming State Bureau of Land Management,

              Respondents, and

CENTER FOR BIOLOGICAL DIVERSITY, et al ("Conservation
Groups"), and ALTERRA MOUNTAIN COMPANY, et al
("Business Coalition"),

              Intervenor-Respondents.


                                           Page 1 of2
Case 2:21-cv-00013-SWS Document 116 Filed 09/02/22 Page 2 of 2
